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                                                U.S. Department of Justice
[Type text]
                                                   United States Attorney
                                                   Southern District of New York
                                                   The Jacob K. Javits Federal Building
                                                   26 Federal Plaza, 37th Floor
                                                   New York, New York 10278


                                                   April 19, 2024

BY ECF

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:    United States v. Robert Menendez, et al.,
              S4 23 Cr. 490 (SHS)

Dear Judge Stein:

        The Government respectfully writes in the above-captioned matter to notify the Court and
the defendants that the Government has filed with the Classified Information Security Officer a
classified motion in camera and under seal, but not ex parte, pursuant to Section 6(a) of the
Classified Information Procedures Act.

                                            Respectfully submitted,

                                            DAMIAN WILLIAMS
                                            United States Attorney

                                    By:     s/ Eli J. Mark
                                            Eli J. Mark
                                            Daniel C. Richenthal
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                                            MATTHEW G. OLSEN
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                                            National Security Division

                                    By:     s/ Christina A. Clark
                                            Christina A. Clark
                                            Trial Attorney
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cc:    (by ECF)

       Counsel of Record
